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                UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE:        THE HONORABLE LEO M. GORDON, SENIOR JUDGE

_____________________________________

IKADAN SYSTEM USA, INC., et al.,

                       Plaintiffs,

               v.

UNITED STATES,
                                                     Court No. 21-00592
                       Defendant,

       and

HOG SLAT, INC.,

                  Defendant-Intervenor.
______________________________________

                    DEFENDANT’S MOTION FOR VOLUNTARY REMAND
                        AND TO STAY FILING OF RULE 56.2 BRIEF

       Pursuant to Rule 7(b) of the Rules of the United States Court of International Trade,

defendant, the United States, respectfully requests that the Court remand the U.S. Customs and

Border Protection (CBP) Administrative Review Decision, issued under 19 U.S.C. § 1517(f),

regarding certain shipments of steel grating from the People’s Republic of China (PRC),

specifically galvanized steel Tri-Bar Floor product (tribar floors). See Confidential Notice of

Determination as to Evasion in EAPA Case No. 7474 (C.R.123) (June 21, 2021); see also

Administrative Review of Determination of Evasion, “Enforce and Protect Act (“EAPA”) Case

Number 7474; (P.R. 80) (Oct. 26, 2021). We respectfully request a voluntary remand for CBP to

place on the record and consider the determination made by the Department of Commerce

(Commerce) that certain products imported by plaintiffs are subject to the AD/CVD orders. See


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Certain Steel Grating from the People’s Republic of China: Scope Ruling on Pig Farrowing

Crates and Farrowing Floor Systems (Dep’t of Commerce May 11, 2021); See also Certain Steel

Grating from the People's Republic of China Antidumping Duty Order, 75 Fed. Reg. 43,143

(Dep't of Commerce July 23, 2010) (A-570-947) (AD Order) and Certain Steel Grating from the

People 's Republic of China: Countervailing Duty Order, 75 Fed. Reg. 43,144 (Dep 't of

Commerce July 23, 2010) (C-570-948) (CVD Order). Because this issue is central to each claim

in plaintiffs’ complaint and motion for judgment upon the administrative record, the voluntary

remand has the potential to affect each issue challenged; consequently, defendant requests that

filing its Rule 56.2 brief, and all other deadlines, be stayed pending resolution of the voluntary

remand. Counsel for plaintiffs and defendant-intervenor have indicated that they consent to this

motion.

                                         BACKGROUND

          Plaintiffs Ikadan System USA, Inc. (Ikadan) and Weihai Gaosai Metal Product Co.,

 Ltd. (Gaosai) (together, plaintiffs) challenge CBP’s determination that certain shipments

 containing steel grating from the PRC, specifically tribar floors, were entered into the United

 States by means of evasion. See Confidential Notice of Determination as to Evasion in EAPA

 Case No. 7474 (C.R.123).

          During proceedings before it, CBP determined that certain entries of farrowing crates

 and farrowing crate parts made by plaintiffs contained tribar flooring that is subject

 merchandise covered by the AD and CVD orders. See 19 U.S.C. § 1517(b)(4). Because the

 AD and CVD orders clearly applied to plaintiffs’ entries of farrowing crates or farrowing

 crate parts containing steel tribar, CBP did not pause proceedings to seek a covered

 merchandise determination from Commerce pursuant to 19 U.S.C. § 1517(b)(4). C.R. 123 at


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 8 n 58. Plaintiffs nevertheless sought a scope ruling from Commerce, with that agency

 ultimately agreeing with CBP’s finding that plaintiffs’ products are subject merchandise. P.D.

 24, 25. However, CBP did not explicitly analyze or discuss that scope ruling in its evasion

 determination because – in addition to CBP’s authority to determine that a product is within

 scope based on the physical characteristics of the product and the language of the scope

 without seeking a ruling from Commerce – the scope ruling was issued “after the record

 closed in this investigation because regulatory timeframes for considering new factual

 information did not allow for the regulated amount of time for comments nor would it have

 allowed CBP to issue its determination as to evasion in accordance with statutory deadlines.”

 C.R. 123 at 8 n 60.1

           CBP issued its evasion determination on June 21, 2021. C.R. 123. Plaintiffs requested

 de novo consideration of the determination, and CBP conducted an administrative review and

 affirmed the determination of evasion on October 26, 2021. P. R. 80.

           This lawsuit followed.

                                          ARGUMENT

           Defendant respectfully requests a voluntary remand for CBP, without confessing error,

 to place on the record and consider the scope ruling issued by Commerce. While CBP does

 not concede that its determination that plaintiffs imported subject merchandise or its decision

 not to make a covered merchandise referral to Commerce is flawed, it nevertheless recognizes

 Commerce’s expertise in analyzing the scope of AD/CVD orders. CBP thus requests the

 opportunity to consider Commerce’s scope ruling on the record in order to clarify and – if



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         The scope ruling is a publicly-available document, and counsel for defendant-intervenor
submitted it to CBP, but CBP did not place the scope ruling on the record of investigation as it
was sent after the deadline for the voluntary submission of information.
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 appropriate – correct its evasion determination in light of that ruling.

        In SKF USA, the United States Court of Appeals for the Federal Circuit held that an

 agency may ask the Court to remand a matter, without confessing error, so that an agency may

 consider its prior position. SKF USA Inc. v. United States, 254 F.3d 1022, 1029 (Fed. Cir.

 2001). The Federal Circuit identified multiple scenarios in which an agency may seek a remand

 which include: (a) to reconsider its decision because of intervening events outside of the

 agency’s control; (b) in the absence of intervening event, without confessing error, to

 reconsider its previous position; and (c) to change the result because an agency believes that its

 original decision was incorrect on the merits. Id. at 1028.

       Although the Court possesses discretion whether to grant a remand in such

circumstances—for example, “[a] remand may be refused if the agency’s request is frivolous or

in bad faith”—“if the agency’s concern is substantial and legitimate, a remand is usually

appropriate.” Id. at 1029. Notably, the holding of SKF USA was that the Court had abused its

discretion in denying the Government’s motion for voluntary remand. See id. at 1030. In short,

in SFK USA, the Federal Circuit established the standard for the Court to decide motions for

voluntary remand in an action such as this one. This standard affirms that an agency’s power to

make an administrative determination contains within it the power to reconsider that decision, as

appropriate. See United States v. Sioux Tribe, 616 F.2d 485, 493 (Ct. Cl. 1980) (“It is a well-

established principle that an administrative agency may reconsider its own decisions. ‘The

power to reconsider is inherent in the power to decide.’” (citation omitted)).

       A voluntary remand to an agency is generally appropriate if the agency’s concern is

substantial and legitimate. Id. at 1029; see also Ad Hoc Shrimp Trade Action Committee v.

United States, 882 F. Supp. 2d 1377, 1381 (Ct. Int’l Trade 2013); SeAH Steel Corp. v. United


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States, 704 F. Supp. 2d 1353, 1378 (Ct. Int’l Trade 2010); Shakeproof Assembly Components

Div. of Illinois Tool Works, Inc. v. United States, 412 F. Supp. 2d 1330, 1338 (Ct. Int’l Trade

2005) (granting a request for voluntary remand, recognizing the “presumption of governmental

good faith” absent “‘well-nigh irrefragable proof’ of bad faith.”). “{C}oncerns are considered

substantial and legitimate when (1) [an agency] supports its request with a compelling

justification, (2) the need for finality does not outweigh the justification, and (3) the scope of the

request is appropriate.” Baroque Timber Industries (Zhongshan) Co., Ltd. v. United States, 925

F. Supp. 2d 1332, 1339 (Ct. Int’l Trade 2013). Likewise, clarifying and correcting a potentially

inaccurate determination is a compelling justification for voluntary remand. Id. Moreover, when

the agency seeks remand to correct a mistake or address some other substantial and legitimate

concern, it is appropriate for a court to defer to the agency whose expertise consists of

administering the statute. Gleason Indus. Prods., Inc. v. United States, 31 C.I.T. 393, 396

(2007); see also Ethyl Corp. v. Browner, 989 F.2d 522, 524 (D.C. Cir. 1993) (“We commonly

grant such motions {for voluntary remand}, preferring to allow agencies to cure their own

mistakes rather than wasting the court’s and the parties’ resources reviewing a record that both

sides acknowledge to be incorrect or incomplete.”)

         The Court should exercise its discretion to grant our request because our reasons for

 seeking remand are “substantial and legitimate.” As this Court has held, a remand is

 appropriate where an agency “(1) [] supports its request with a compelling justification, (2)

 the need for finality does not outweigh the justification, and (3) the scope of the request is

 appropriate.” Baroque Timber, 925 F. Supp. 2d at 1339. Each factor is satisfied here. First,

 the Government has a compelling justification for its request because CBP wishes to consider

 Commerce’s scope ruling on the record in order to clarify and – if appropriate – correct its


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 evasion determination. Next, the need for finality does not outweigh the justification, as

 indicated by the fact that plaintiffs consent to our motion. Moreover, a remand to CBP to

 further evaluate its administrative review decision may provide the relief plaintiffs request in

 their pending motion for judgement upon the administrative record. ECF No. 44. Granting

 our motion is thus appropriate because a remand may allow CBP to “cure the very legal

 defects asserted by plaintiffs challenging federal action.” Citizens Against the Pellissippi

 Parkway v. Mineta, 375 F.3d 412, 416 (6th Cir. 2004) (finding the district court abused its

 discretion by not granting motion for voluntary remand for agency to address error alleged by

 plaintiff).

        Finally, the scope of the request is appropriate because, as explained above, Commerce

has a recognized expertise in analyzing the scope of AD/CVD orders. Permitting CBP to

consider Commerce’s scope ruling on the record and clarify or correct its administrative review

decision will ensure that the Court is presented with a thorough analysis of relevant law and

record evidence. There is thus a substantial and legitimate justification for this Court to grant a

voluntary remand.

         Further, our request for a voluntary remand in its entirety is appropriate because of the

 potential impact of the remanded issue on the claims pending before this Court, all of which

 hinge on CBP’s conclusion that plaintiffs’ imported products are subject to the AD and CVD

 orders. By requesting a voluntary remand in its entirety, we do not waive any defenses

 regarding the evasion determination at issue nor any arguments related to the merits of the

 issues before the Court. See Tianjin Wanhua Co., Ltd. v. United States, 253 F. Supp. 3d 1318,

 1327-28 (Ct. Int’l Trade 2017). By requesting a remand in its entirety, we preserve our ability

 to defend CBP’s evasion determination on the merits. Should the Court grant the request and


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 determine a remand is warranted, the appropriate action is for the Court to remand to CBP for

 further proceedings without directing a particular outcome. See, e.g., Nippon Steel Corp. v.

 United States, 345 F.3d 1379, 1381-82 (Fed. Cir. 2003); Essar Steel Ltd. v. United States, 678

 F.3d 1268, 1275 (Fed. Cir. 2012).

        Moreover, because a voluntary remand, if granted, may preclude the need for further

 briefing on plaintiffs’ motion for judgment upon the agency record, we respectfully request

 that the Court stay any such briefing, including briefing by defendant-intervenor, pending the

 resolution of CBP’s remand proceedings,. Should the Court grant our request, we

 respectfully propose that the Court provide 45 days for CBP to submit its remand

 redetermination to the Court and allow for comments on the remand redetermination in

 accordance with Rule 56.2(h) of the Rules of the Court.

                                        CONCLUSION

       For these reasons, we respectfully request that the Court grant CBP’s request for this

voluntary remand, and remand this matter to CBP for further administrative proceedings. Should

the Court grant our request, we respectfully request that the Court provide 45 days for CBP to

submit its remand redetermination to the Court to afford CBP sufficient time to complete the

remand redetermination. We also request that further briefing under Rule 56.2(a) be stayed

pending issuance of the remand determination.

                                                    Respectfully submitted,

                                                    BRIAN M. BOYNTON
                                                    Principal Deputy Assistant Attorney General

                                                    /s/ Patricia M. McCarthy
                                                    PATRICIA M. MCCARTHY
                                                    Director



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August 17, 2022                          Attorneys for Defendant United States




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                             CERTIFICATE OF COMPLIANCE

I hereby certify that this brief complies with the word limitation of Court of International Trade

Standard Chambers Procedures § 2(B)(1) and contains approximately 2,211 words. In preparing

this certificate of compliance, I have relied upon the word count function of the word processing

system used to prepare the brief.

                              /s/ Kelly A. Krystyniak
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                  UNITED STATES COURT OF INTERNATIONAL TRADE

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                 Plaintiffs,

                 v.

 UNITED STATES,
                                                              Court No. 21-00592
                 Defendant,

                 and

 HOG SLAT, INC.,

             Defendant-Intervenor.
 _____________________________________

                                             ORDER

         Upon consideration of plaintiffs’ motion for judgment on the agency record, defendant’s

motion for a voluntary remand, the administrative record, and all other pertinent papers, it is

hereby

         ORDERED that defendant’s motion for voluntary remand is GRANTED; and it is further

         ORDERED that the U.S. Customs and Border Protection (CBP) shall submit a remand

redetermination within 45 days of this Order; and it is further

         ORDERED that briefing on plaintiffs’ motion for judgment on the agency record is

STAYED pending CBP’s remand redetermination.



Dated: ___________________                                           ____________________

New York, New York                                           Judge
